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                 FOR THE DISTRICT OF COLUMBIA
                    WASHINGTON, D.C. 20001




                                                      : 1:23-mj-00033-RMM-2


JEREMY CHRISTIAN HARRISON




                                /s/James T. Skuthan




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     Case 1:23-mj-00033-RMM Document 9 Filed 02/16/23 Page 2 of 2




                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing

Notice of Appearance was submitted to the Clerk of Court using the CM/ECF

system, which will send a notice of electronic filing to the Office of the

United States Attorney, on this 16th day of February 2023.


                                               /s/ James T. Skuthan
                                               Attorney for Defendant




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